     Case 1:15-cr-00286-DAD-BAM Document 423 Filed 03/06/19 Page 1 of 2


 1   SHAUN KHOJAYAN (#197690)
 2   LAW OFFICES OF SHAUN KHOJAYAN
      & ASSOCIATES, P.L.C.
 3   515 South Flower Street, 19th Floor
 4   Los Angeles, CA 90071
     Telephone: (310) 274-6111
 5   Facsimile: (310) 274-6211
 6   Email: shaun@khojayan.com
     Attorney for Defendant Haitham Habash
 7

 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                   Case No.: 15-cr-00286-DAD-BAM
11
                       Plaintiff,
12                                                STIPULATION TO MODIFY
            v.                                    CONDITIONS OF RELEASE FOR
13                                                DEFENDANT HAITHAM HABASH
14    HAITHAM HABASH,

15                     Defendant.

16

17
           Notice is hereby given that, subject to approval by the court, Haitham Habash
18

19   hereby stipulates, by and through his counsel Shaun Khojayan, and Assistant United

20   States Attorney, Karen Escobar that conditions of release be modified to allow
21
     Defendant Haitham Habash to travel to San Francisco, CA on Friday, March 8, 2019
22

23   and return on Monday, March 11, 2019. Mr. Habash will travel with his family and

24   stay with his cousin at 1285 Toyon Drive, Millbrae, CA 94030. They will be
25
     celebrating his aunt’s 70th birthday. All other conditions previously imposed, not in
26
27   conflict, remain in full force and effect.
28

                                                  1
     Case 1:15-cr-00286-DAD-BAM Document 423 Filed 03/06/19 Page 2 of 2


 1         The United States Pretrial Office and his assigned officer, Adriana Corona,
 2
     have no objection to this request.
 3

 4

 5   I consent to the above stipulation.
 6
     Date: _________________                     s/ Karen Escobar (with permission)
 7                                               AUSA Karen Escobar
 8
     I consent to the above stipulation.
 9

10   Date: _________________                     s/ Shaun Khojayan
                                                 Shaun Khojayan
11

12

13                                         ORDER
14
           The Stipulation to Modify Conditions of Release for defendant Haitham
15

16   Habash is hereby approved and so ORDERED.
17
     IT IS SO ORDERED.
18

19      Dated:   March 6, 2019
                                             UNITED STATES DISTRICT JUDGE
20
21

22

23

24

25

26
27

28

                                             2
